“‘=‘EQE '"'M1-O8-Cv-OMW:D@W13 .::EFQH:@,.@Y:@@@§ Ps-Q@é m ::€:#:§
HPEL|:EH.AH:| D'N §H"§:L‘§C'i'-|:I'E'N '§¢ELED§'O:EL|:| oh
LHB|H)'|

 

w -=H m =1!25":»~.¢".=1 hr.‘-'¢N w,L wm is =r.-v.:g '=-#‘-¢ hmw wA #-EN m =:1'.5 `:rnf'd -‘:E:=r.~.

,L,.Cq

1 "]' ing F.L.'E': \.'E‘_'l.l»:=| r' :t¢h u'i‘-.'.u:-_._¢ ¢*,,._n'.
/ "_"'¢1¢¢»¢"»""§ u;?’

M ' ama 'ng aunr :u-u am 01 u::w.g

 

 

 

 

951 u:-:- re >x::~.~'“.s nwa 51*."'¢'4
trmd¢~:} :uE-_S,'. f rml :'.cE-HH wole E~¢.'w mm 1121-l mm ms 133

;».-.og¢,- se pa-..za-s £nen:~»e umwa-d am sacu:\sap au :m.n mm lamm lum-mag

uowam maine meara-35 am as c: swamp-z u-'E'=-' wasn me luanuDdSH-I.-'.uewawn IJ.'ES 59 J.Nw'l=:wo:) )..L'.='vd

'c:lL-in-u nw wolm»: "nm:: ~.r m chmwn:-; uaw uE:HL mei w newman umv.md.'m ma eq m owes ca
umw-mm ones -va-m mauro-nw 14le 514va NBHHW.EE m m 111 £dw wm E lemmn bowman in Houwnduc::

'p=w€u WM:-.~apuod¢m.: .'En wl "cu,"l mah'i§£:~:mw dues N~.'ds

~:ES wl mimms ,a.LH»:d~a:JElHJ. :l.-r~: munz 'll.ru:) v m smi*mr“rs A.LHV¢-.' GH:H.L win MO= am umw an pauarswauoda:'
rQE'ECI|`N 'AW.*\*.*‘.L*:':)S|='

EH'H SEIOH iii

':>Hl W‘:JIEEW*:'} moveng ore

19 Hd Q'DLLCl 13 E'DUZ 13 W!'lr` 130 IE’~JJ.

')'!EE|A P.'LEN ;iO EJ.‘E".LS EH_L H| SEC|IE'HH []N‘FS`H#'E!A NEE.LHB|E
:'.'D EEJ*:" EH_'. HE:"'.CI `NO|J_D"'." S1H.L Cl..'. A..|.H‘i"d *." J.DN S| .‘..NEND:'.*EU SJ\"=F"E GN‘."' SEEC|»\:EE NHOMS A`H'H] ENlEE J,HEJ[N>`| 'IE:NVG

355 >IH'CIA MEN :lC! MN|"|B:J' -')'|HCI'A MEN :iO §L"'»:"LS

 

Zr‘d=~§zu'.-'ne*eu im ana lam-md

l[S`,i:l-IEP'JB§E'U
BSMHES do uhvm:l:~ NDIJ.S‘;" A_L`d‘\:“d C|?;."|Hl "v' C|N‘:\' I]El]'r‘-H`| BHG.`H BMDH 130
paid ama -151.¢_1253 -
fsm-:u=md
qdwh ggzzg mg 35 :¢ xapu| .J».N'dd\"».'O$ EIDI~.WHSN| "l'\:"‘d§t]?.£

 

25 ' 011'91\"{“:\'2 ClN"¢'
1‘Ii\"td;'l:."l"|l§`.! NYAH MEEHE|'I"`|OU L£ELUG*.I\:" >IHDA hL:'-N :IC| lU!HJ.SH.`.| HEEH.L|"|OS!J.H|"|CI:I J.:I'D:!LS|G 55 LVJ.S UEJJN!*I

bLF.¢'-\C
939595 "` “:08'0“033931§1'5§?-§15»'§$§?§§§;@3'2 kime FS`é'§é‘MLT-TJ§.T§;;E

 

  

ZE'S";!.|:"SEALD`WN §L'I"EZ|-EG£LD`DN SEEI'EB'EDdl:'D'¢N
LHFJIH E|NVC| wA»-J:.'.pc=-:E:S'=-wdmm wA»J-H;oa;ng':¢mf.;e;-c~ mA»aN,-ca;e,~g'mp_,-e¢:h
.. x ,. i:AR.L.r£". l..-'E~_'uog'nuqu mude
_._\-'U£,¢,¢. f.
-’.(:7

gg.gz ‘g-;_: aunr .uo am m mcs-vs

 

 

95'. 1 15 ~.~F: bmwe made am'r
wmva NBHM vde :'-c§raH vli HE~.* man -'-“EH J=>.Q:l l-=r~r$ 195

 

 

nom se pa-..»as warrant mma-cl am seam-sap au :Eu:l same +au:.m,l mann-dan

-;oe;B'-n mEE)~:' T~.-'HE'~.|EB am 612 m WHW cce mm we :u=F-HO-G‘i-Jl.-'~HEM;H cwa se mmdi*l{>i'.`r A.LH*!d

-EE\HJ. new ND!L:J~.-' 'um:- ~: Nl SNGI'-n'ms ALH~:'¢| GH:HL D-ES w munson umwa-mm am =-Q m JH»'-r¢€ 05
unce.-c.c.-c-:> ms ware wah-oden f¢:euomd SNIHL~#.\ NEHH‘-:.*.'EE m ma an kim m P. mama wpa-rau Fr: Nnuvuod‘dn::

‘pawau um.»am ;ua¢l.md'smn'JE-Dua§$'i W'.' ziqu N‘c'd&.`
":'ES L-*C' LN|'*':""|di*iOfl MH'.":|'GE:H..'. GN'." HD|J.D*." TENJ '¢.1' Nl SH~Di'i‘ll'i|"dE A.L`.*:"'."d EJH!H.L 9'-|1 401""'¢03 B¢'l-l'l l-I!m'-M 343 DG~WG wirun»dai?

resign ').w~.ww::§l¢
arm sam-1 us
':)HI imluawl mohawde :‘.1-:~

19 I'i-d 90`-1|]1|3 'E‘E|'|:|Z '£Z m 'J$ lE'l-ll

`HHOA J'\".EN :."CI 5.1.‘;"15 ':l'|~LL N! SEC|ISEH C|-'H"':" SH`¢E.R NE‘:.`-LHB|E
:‘C* 55'=" EHL HEJ'"~D `.'\."C|J.D":' S|H.L 'D]_ J\'_`d‘:"d V_LGN Sl J.HE. `EC'] ‘SJN'S EWSEEC-d§f] N!:'.'D.‘.'l.§ .-k'li'l<] ENIE lHEIIN`>| '131h"c'C

F‘=`l"$ '>'[EOA MEH :lCIl A_LN|'|OD ZHHDA ME|N :ll`_`l El_L‘d'.LS

 

de.-‘§ aerea-so : L# ard lau-low

m {s]iu-EM.'B:J
an Hgs do mvm:|:mr NO[L:N A.La"dd nElHJ.v nw uman E.~NDH snon 130
'pa"i men -=su§e§e»
{S'J,'¥‘.wmd
{df"n Q'EEE:G ma 90 = xap+.u ANV=!HD'.') EGWHHSNI WHEGE=l

 

`E'B ' DL|EE*NZ EHW;I"
'TH;.‘J|'"||S NW\H AJ.H_=IHE}|"|DG ¥":B'Ll-‘OL“;" HEDA NEH :iO i`.'JIEJ.Si£] NH?|HJ.HOS!J.H|"`|DQ J.‘.'_'ll`\*.-ll$|(] 55 L`!J'J.S UEL|HF

owe

EEEEBE: GT=HM :08-0v-032-83-'t:;06|'<‘ "- eErfFf’e' _ ‘21 " 'L w-=r§l um==w=n:
j f.'.'-¢‘¢:;wJ-EI§§~' 1- W'|;f-§ 3 3 k'-¢;DF“\MW@ ljéc§e LUQA HH '-" watt
` z‘='rQE:n-;amn '=H QLrELLE<)=lL¢:l'n»H gosLE:»-;c>=lm :>h

M}"?:""H 15'"?0 A"a”*`°""§ WJM ""°A "Nl°"”*“`-S`="F"‘~d *'-1*?'-"-‘~| wm HH.~H:e:S'::-:r=*~=:l..v\m
, aa,:` £.:.-1". ur.=:u:|'r," l.m-_wd m-.-
_- \'~._ l / ___~U.¢.{‘W
ED"JZ 'UE E‘Ul"lr` ZLJ'CI am m um.*.\.g
r'

 

 

 

EPE'. '. l..'; '»'E )I‘SJ‘¢"`|E >-!ZJ".*'TE E'T*:‘r*l
frw¢d\=':l :uE-sa.'.-. f"¢n-rd¢v‘.+ :uEEHl-c {'xm¢v]l &E'v winn -'=tH winn wis 195
:woun; se pause Hrer:c:ve unst am :a-qu:sap aq mm sams mL,q.n-u rml-udag
`$DBH-Ii J.NEEW ‘T‘#'HBHEB E"'-i'l B'Q 91 l‘EH"-FJ“-‘-J|:r‘-"j F'PES N$'-n'| PL“F-' IuWMS-'JJ-'F-=EPUB§H'P PFE$ 53 J.HH'!¢-.‘HCO MH":':|
‘CEEEHJ_ GH":' HG|LZ'.'}"J" `|INS 'd NI SHDPB‘ID‘S .kL`t:"'."d ClHll-L'. P*'i-'$ L-F! map HD€'LI.='.IM.:G:J EHR E"E| 01 FH'UEF 95
umwa-mora pens Maml lui-lofin '511€1!0'5-¢€"¢ SNl!-LLVM NEHH\:".‘~EE m l¥-'°EB .'.9 MD'-'»" am E lF-’“BJM m-*-‘I$$ 53 HOT.L"H"HDdHO$

'Da#~.'.:€u u'»e.ra<.n wap'.l-odsa;,-wepua;a»p am 'EW EADT]-BVM
HD i_.'s'|"="!~d\’i@:+ ME¥d'GH|HL GN‘:" NOLL‘IJ\:' '1|N:J' ".1' Nl SHGHN+"IS kidle GE!HL m W £FG¢ 9*"'-1'& l-I!J-|F¢'-“ ila D&ua€ zunundal:+

PS‘BB‘DI`N '.k‘¢‘M"¢'L"¢"".'JS]r.*Z

EH"I:\""| SEDH iii

`GNI [W|HJW]' EAO"|"|'B"'."M U-":l

iell"ld EGTLEHEE'|J"JZ '.£Zi'¢ml"'-H'-' 191-ll

`HHOA .I'\.'EH :."D 51le EH_L Nl SEUlSEH 'L`J.‘s"'." EH*."EA. NEE.E.H'B|E

dO EE}"." Ei-U. HE.\*~.D 'NOlL:N EEl-LL 01 A.L`\*_Nd ‘=" iCrH S| J._HEHGdEC| 5)~.'¢"5` EW SE'SOdEG NEDMS .-R`II"IG E]HE!E LHB!HH "|EIN"."C

195 `)'!'EDA NEN 30 .LLNF|GD `»HEGJ~. .I".I'EN :JO `:LL":'.LS

 

zrd.szn=-og-so :n= me hamm

am s J.m {S}mpua"au
a ua :[0 va[:|=m' NO|J.:N used GHlHJ.v GN'o' maule amon-l BNC~H 130
.pan_-g ama _ ISW:EEE _
{S}H.rleH
{cm"n Emz€r:r ma 90 := xanul ,aM‘~:'=lHG:r garmenle WHEGBL¢

 

29 ' OJ.|EFNZ UN"F'
‘¢"H:|;IF"||B NW\E M.HEHBF"|C|U `~"~E'Ll-‘OW HHDA N'E`.'N dCI J.:llHJ.S!C| H'HEH.L|"|OB!_'HI"|O‘J J_CHH}£|C| SELVLS GEJ.|N|"

!DUJ-E
ch "_ . _ _ _' q l_|- --.-- ' . l l * - nl' my _':
Lz_»g»; ~Gu .08 cv 032@3{§¢€1<§:5§;§+<;:‘§@;5§§ 3-4_§*[¢?1,§@7'@@2};® §§“ée‘¢f,g;:“"'g:f‘:§,_f‘§;§.

ESEELEGEMD 'DH slrgzz'=.\-O:LD 'DN S$E'.En¢;c:¢=l'.-:& '¢N

J_HEHN)| lNVlJ ;~ va.-.' m a:r'.S '='.=:-*d ‘.'r.c»\ wy` -¢-1.-.- ;=~ a:ng ':»e.-:¢..-_,' .¢Jr.c-H wi van m :;e-.g ':qcrd I.-mc,~.-

n _ )“l a.a,L .Lur vi ue" ' '.:l".a.-.¢:d ¢:\.1"
__., {c_

 

 

gmz 'ng aunr 'uo am oz mg

 

 

 

 

 

gen '. L.§ re mm )c:w'rs E"r~m
nmi-n mbe-m Hu»ddvlluE~¢H i"¢wd-dv:»aw mm reP-H mimms res

;s.»¢-.ogn;, se palms lamar mma-d ann saame au ma ‘-“E‘.E'.:s wm ‘.uauod:-g

'iO-ll%'-R .|.NE‘EJ‘=' 'N'HENEEJ Wl an m iE'r'lD¢-*-'N P'E'S H'»H')! we wan-I-IMSE'~.I.-WED'-IBHP »'-*'Ef 513 J.NN"|»:EHDD MH"."»:|

*GH|H.L Eh"'.' HG|J.D‘.‘ `llmi`) *:'r Nl SN~DI‘MHS MH'~;Fd E}:`|HL P'.F-*"`- 'l-l' D&'LT.L»"JWD W."-EJDd-'m E"-Il B'Cl 01 D'E»'\-la‘i ¢5
HD'=EMW P£P-G »'-»w>e wauo¢a»::» 'M:Euwad sm>LL~:M NaHH‘-:'MEE m meal 143 wm arm e lea.-am mu~wm:- m NG»IHHDJH¢J:

'Pw-'Eu mm wawodsm:.ul!'pu-'>~M 941 `J..-r~:'l»rs$"l"las§§w§l.l.>w CIAO"n-€w¢='\:‘ri
L-'D mr~¢"ldh*m;‘) Mh\.fd-GE\H.L amf unawst *.* Nl SNGHW:'IS )~M:Nd GHiH.L w-,'D F-dw W u-"I-Iw-\ »'N= DGL'\HS IWMHP

rim 'A~:Mvi~r;)$rd
Emrl ison :.:.£
':u.\.u hamile mm'r-Q‘mw 0.-:

13 'r'id E'DLLU 113 E'CIJE 13 91-“"|" '|-KJ lil~|L

'HEDJ\ 1'1"EN :|Cl EI_L";'J.S El-LL H| SE'.'JI'S§H GHY EH‘E"'§A NEEJ.HE.`||E
:'-3 55*.“ EHL HE¢’~LCI `H'DL£$*." S|H'. C'L .A.LH“-“d 'f ;O.‘~l Ei J_NENOI:EC| ‘$A`?S GN"! SES`O:FEG HHC|'.'\".'S A.'||"`|C] E|'NEE J.HE}!H)'! '!E!.'.“NG

-`59 HHC|'A MEN ;IO MNUOU :`.'&'!HDA. MEH :.'G EJ_".'FJ.E

 

zr=L-Ezurna*zn f'.= and £aw=+uv
asu-mas do J.m n d ':GHWMM
v l g NOLL:W )~_Luvd claim v amf agule sum-l E::N¢:;H 130
;na!l;£ alan _HWEEE ‘
ls]'wlw_md
“=W"} 3935‘3 `N$ 913 =»"" x‘=‘F*'-'l Amdwn:: 513-manle Waaua=¢

 

39 ' DJ.|'E}WZ C|N":"
W;:|dl"||§ N‘¢'AH J\.LHEH‘:'J|"|GC| L£B'-UC*W I>'!'HCIA HE-.'N :l'|.'] J.ZJ'|H_].S|'L'J NHEHLI"|GS."J.EHOU .L‘:J|HJ.SIG 33 L"L“LS C|E.LINI'

